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AO 466A (Rev. 12/17) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT
                                                                         for the


                                                                                                                           FILED US District Court-UT
                 United States of America                                   )
                                                                                                                             NOV 06 '23 AM0B:33
                                v.                                          )      Case No.
                                                                            )
                                                                            )
                                                                            )      Charging District's Case No.
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)


          I have been informed of the charges and of my rights to:

           (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;

           (2)
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               an identity hearing to determine whether I am the person named in the charges;

           (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

           (4)       a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                     committed, to be held within 14 days of my first appearance ifl am in custody and 21 days otherwise,
                     unless I- have been indicted beforehand.

           (5)       a hearing on any motion by the government for detention;

           (6)       request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

           I agree to waive my right(s) to:
           ~         an identity hearing and production of the warrant.
           0         a preliminary hearing.
           0         a detention hearing.
           0         an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                     or detention hearing to which I may be entitled in this district. I request that my
                     0 preliminary hearing and/or O detention hearing be held in the prosecuting district, at a time set by
                     that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


 Date:



                                                                                       Signature of defendant's attorney



                                                                                     Printed name of defendant 's attorney
